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EXHIBIT 1-JERS MEMO

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Be UNITED STATES DISTRICT COURT
PDISTRICT OF NEVADA

 

OFFICE OF THE CLERK

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DEBRA K.KEMPI
CLERK OF COURT

JURY EVIDENCE RECORDING SYSTEM (JERS)

The United States District Court for the District of Nevada is implementing the JERS system that allows
evidence admitted during trial to be viewed electronically by the jurors during their deliberations. JERS
provides easy, access to evidence during the deliberations through the use of a touch screen monitor in the
jury room.

Attorneys of record will be given an opportunity to review the exhibits at the conclusion of testimony and
evidence. Court personnel, at the Judge’s direction, will release exhibits to the jury as deliberations
begin.

JERS has the ability to:

e Store all exhibits submitted prior to trial, and then designate just those admitted into
evidence;

e Capture, through the courtroom’s presentation equipment, exhibits that were not
submitted prior to trial but are later admitted by the court;

e Print a list of exhibits, by exhibit number and description, that will be released to the
deliberating jury; and

e Restrict how the jury may review the exhibit: Audio Only, Video Only, and Zoom Off
(Zoom Off restricts the jury from enlarging an exhibit on the touch screen in the
deliberation room).

Submitting Exhibits

Counsel shall submit all proposed exhibits on a DVD-R, CD, or USB Flash Drive (storage
device) as directed by the court. The disc or drive shall be labeled with the title of the case and the name
of the party for whom the exhibits are submitted. A hard copy of the party’s exhibits list that includes the
electronic file name for each exhibit shall be submitted with the storage device. Unless otherwise
directed by the court, the storage device will not be returned to counsel. Parties shall be prepared to
submit hard copies of any exhibits admitted during trial.
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There are two ways for attorneys to submit exhibits:

Method one: each exhibit file should be clearly named as in the examples below, using this format:
exhibit number_exhibit description. file extension, or, if an exhibit has sub-parts, exhibit number-
exhibit subpart_exhibit description.file extension. All exhibits must be in the same folder or directory.

For example: l-a_photo of store from east view.jpg
1-b_photo of store from west view.jpg
2_camera footage. wmv
3_contract.pdf

Method two: law firms using exhibit management software may submit (on a storage device) exhibits
exported using an indexed filename method with a text delimited file naming the exhibits. The text file
must be named “Exhibits.txt” and each line must contain information using the this format: exhibit
number-optional subpart|exhibit description|exhibit file name. The “exhibits.txt” file must be in the
same folder or directory as all the exhibits.

For example: 001-001|Photo of bank|GX001.pdf
002-001|Camera footage|GX002.wmv

Exhibit File Types

JERS will accept electronic evidence only in the following formats as other types cannot be
uploaded:

. Documents and Photographs: .bmp, .gif, jpg, .pdf, .tif
* Video and Audio Recordings: .avi, .mpg, mp3, .wav, .wma, .wmv

**Each PDF file may not be larger than 12MB. Hyphens and underscore characters must be used as
shown in the examples above.

ATTORNEYS WILL STILL BE RESPONSIBLE FOR THEIR OWN EVIDENCE
PRESENTATION AT TRIAL. JERS is for the jury and records only.
